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17                              UNITED STATES DISTRICT COURT
18                          EASTERN DISTRICT OF CALIFORNIA
19
20   KELLY CASTILLO, NICHOLE                    Case No. 2:07-CV-02142 WBS-GGH
     BROWN, and BARBARA GLISSON,
21   Individually and on behalf of all others   FINAL JUDGMENT
     similarly situated,
22                                              Honorable William B. Shubb
                          Plaintiffs,
23
                   v.
24
     GENERAL MOTORS
25   CORPORATION,
26                        Defendants.
27
28
                                                1
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 1
                   This matter having come before the Court on the application of Plaintiffs,
 2
     individually and as representatives of a class of similarly situated persons (collectively,
 3
     “Plaintiffs”), and General Motors Corporation (“Defendant”) for approval of the
 4
     settlement set forth in the Stipulation of Settlement and the exhibits thereto (collectively
 5
     the “Agreement”), and the Court having considered all papers filed, all evidence
 6
     submitted and proceedings had herein and otherwise being fully informed;
 7
                   IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
 8
                   1.     The Court has jurisdiction over the subject matter of this litigation,
 9
     and over all parties to the litigation, including all members of the proposed Class defined
10
     as all residents of the United States who as of January 13, 2009, own or have owned a
11
     model year 2002, 2003, 2004 or 2005 Saturn VUE or model year 2003 or 2004 Saturn
12
     ION equipped with a continuously variable VTi transmission (“Class Vehicle”) excluding
13
     (i) any person, firm, trust, corporation, or other entity that purchased Class Vehicles from
14
     GM, or any entity related or affiliated with GM, for resale or fleet purposes (including
15
     without limitation any authorized Saturn Retailer) and (ii) any person who has instituted
16
     an action for damages for property damage or personal injury against GM related to the
17
     VTi transmission of a Class Vehicle (“Class”). Excluded from the Class are members of a
18
     Subclass consisting of persons otherwise falling within this Class definition but (1) to
19
     whom Notice of the Settlement inadvertently was not mailed prior to the Settlement
20
     Approval hearing and (2) who did not otherwise receive timely notice of the Settlement.
21
                   2.     Pursuant to Rule 23(a), Federal Rules of Civil Procedure, the Court
22
     finds that the members of the proposed Class are so numerous that joinder of all members
23
     is impracticable, that there are questions of law and fact common to the Class, that the
24
     claims of the named plaintiffs are typical of the claims of Class and that the named
25
     plaintiffs have fairly and adequately represented the Class and will continue to do so.
26
     Pursuant to Rule 23(b), Federal Rules of Civil Procedure, the Court further finds that
27
     questions of fact common to the Class predominate over factual questions affecting only
28

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 1
     individual members and that a class action is superior to other available methods for the
 2
     fair and efficient adjudication of the controversy. Accordingly, the Court certifies the
 3
     Class as defined in paragraph 1 above.
 4
                   3.      The Court hereby finds that: (a) the settlement memorialized in the
 5
     Stipulation of Settlement previously filed with the Court (“Agreement”) has been entered
 6
     into in good faith and was concluded after Class Counsel had conducted an extensive
 7
     investigation concerning the issues raised by Plaintiffs’ claims; (b) the settlement
 8
     evidenced by the Agreement is fair, reasonable and adequate as to, and in the best
 9
     interests of, the Class Members; (c) the settlement delivers benefits to the Class in a
10
     timely manner while resolving complex issues that would require expensive and long-
11
     lasting litigation; (d) the Agreement was the result of extensive arms’ length negotiations
12
     among highly experienced counsel, with full knowledge of the risks inherent in this
13
     litigation; (e) there is no evidence of collusion or fraud in connection with the settlement;
14
     (f) the investigation conducted to date suffices to enable the parties and the Court to make
15
     an informed decision as to the fairness and adequacy of the settlement; (g) the case raised
16
     complex and vigorously contested issues of law and fact that would result in complex,
17
     expensive, and lengthy litigation; (h) the Plaintiffs faced significant risks in establishing
18
     liability and damages; and (i) the release is tailored to address the allegations in the case.
19
                   4.     Accordingly, the Court hereby orders and declares (a) the Agreement
20
     is approved by the Court and shall be binding on all Class Members; and (b) the
21
     Agreement as approved by this final judgment is and shall be binding and preclusive in all
22
     pending and future lawsuits or other proceedings whether in state or federal court. Each
23
     and every term and condition of the Agreement as a whole (including its attached
24
     exhibits) is approved as proposed and is to be effective, implemented, and enforced as
25
     provided in the Agreement.
26
                   5.     The Court finds that the Class Notice and methodology implemented
27
     pursuant to this Court’s Preliminary Approval Order provided the best notice practicable
28

                                                    3
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 1
     under the circumstances. The Court further finds that the Class Notice advised each
 2
     member of the Class, in plain easily understood language: (a) the nature of the suit; (b) the
 3
     definition of the Class certified; (c) the class claims, issues, and defenses; (d) that a Class
 4
     Member could enter an appearance through counsel if desired; (e) that the Court would
 5
     exclude from the Class any member who timely requested exclusion by a specified date;
 6
     and (f) that the judgment incorporating the settlement will fully release Defendant,
 7
     dismiss this lawsuit with prejudice, and include and bind all members of the Class who
 8
     did not timely request exclusion. The Court finds that the Class Notice and methodology
 9
     fully complied with all applicable legal requirements, including the Due Process Clause of
10
     the Constitution of the United States and the Federal Rules of Civil Procedure.
11
                   6.      The Court also finds that the Final Notice and the post-settlement
12
     notice methodology to be implemented pursuant to the Agreement will provide the best
13
     practicable notice under the circumstances of the Judgment and Claim Form to all Class
14
     Members, and the Court further finds that the Final Notice and methodology constitute
15
     due, adequate and sufficient notice to all persons entitled to receive notice, and fully
16
     comply with all applicable requirements of law, including the Due Process Clause of the
17
     Constitution of the United States and the Federal Rules of Civil Procedure.
18
                   7.      The Court finds that Class Counsel and the Class representatives
19
     adequately represented the Class for purposes of entering into and implementing the
20
     Agreement.
21
                   8.      The terms of the Agreement as approved by this final judgment shall
22
     be forever binding on, and shall have res judicata effect and preclusive effect in, all
23
     pending and future lawsuits or other proceedings that may be maintained by or on behalf
24
     of the Plaintiffs or any Class Members, as well as their collective heirs, executors,
25
     administrators, successors and assigns, relating to the Action and/or the Released Claims
26
     (as defined in the Agreement).
27
                   9.      The preceding paragraph of this Judgment covers, without limitation,
28

                                                    4
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 1
     any and all claims for attorneys’ fees, costs or disbursements incurred by Class Counsel or
 2
     any other counsel representing Plaintiffs or the Class Members, or incurred by Plaintiffs
 3
     or the Class Members, or any of them, in connection with or related in any manner to this
 4
     Action, the settlement of this Action, the administration of the settlement and/or the
 5
     Released Claims.
 6
                   10.     All Class Members who did not timely exclude themselves from the
 7
     Class are, from this day forward, hereby permanently barred and enjoined from:
 8
                   (a)     filing, commencing, prosecuting, intervening in, or participating in
 9
     (as class members or otherwise), any lawsuit in any jurisdiction based on or relating to:
10
     (i) the claims and causes of action asserted or that could have been asserted in this Action;
11
     (ii) the facts and circumstances relating to this Action; or (iii) the Released Claims, or
12
                   (b)     organizing Class Members, or soliciting the participation of Class
13
     Members, in a separate class for purposes of pursuing as a purported class action any
14
     other lawsuit (including by seeking to amend a pending complaint to include class
15
     allegations, or seeking class certification in a pending action in any jurisdiction) based on
16
     or relating to: (i) the claims and causes of action asserted or that could have been asserted
17
     in this Action; (ii) the facts and circumstances relating to this Action; or (iii) the Released
18
     Claims.
19
                   11.     Class Representatives are each awarded $2,500 for their roles in this
20
     litigation (“Incentive Fees”). Class Counsel and Local Counsel are hereby awarded the
21
     total sum of $4,425,000 in attorneys’ fees, costs and expenses (“Attorneys’ Fees and
22
     Expenses”). Defendant shall pay the Incentive Fees and Attorneys’ Fees and Expenses in
23
     accordance with the Settlement Agreement. Defendant shall have no responsibility for
24
     and no liability with respect to the allocation of Attorneys’ Fees to Class Counsel or any
25
     other person who may assert some claim thereto.
26
                   12.     Neither this Judgment nor the Agreement (nor any document referred
27
     to herein or any action taken to carry out this Final Judgment) is, may be construed as, or
28

                                                    5
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 1
     may be used as an admission by Defendant of the validity of any claim, of actual or
 2
     potential fault, wrongdoing or liability whatsoever. Entering into or carrying out the
 3
     Agreement and any negotiations or proceedings relating to the settlement shall not in any
 4
     event be construed as, or deemed to be evidence of, an admission or concession of the
 5
     Defendant and shall not be offered or received into evidence in any action or proceeding
 6
     against any party hereto in any court, judicial, administrative, regulatory hearing,
 7
     arbitration, or other tribunal or proceeding for any purpose whatsoever, except in a
 8
     proceeding to enforce the Agreement. This Final Judgment and the Agreement it
 9
     approves (including exhibits thereto) may, however, be filed in any action against or by
10
     the Defendant to support a defense of res judicata, collateral estoppel, release, good faith
11
     settlement, judgment bar or reduction, or any theory of claim preclusion or issue
12
     preclusion or similar defense or counterclaim.
13
                   13.    All individual claims by Class Members and all Class claims asserted
14
     or that could have been asserted herein by Class Members, are hereby DISMISSED
15
     WITH PREJUDICE, without fees, costs, or expenses to any party except as otherwise
16
     provided herein. Pursuant to Rule 54(b), Fed. R. Civ. P., the Court finds that there is no
17
     just reason for delay and expressly directs that this judgment be entered forthwith, without
18
     prejudice to the rights of members of the Subclass consisting of persons who otherwise
19
     fall within the Class definition but (a) to whom Notice of the Settlement inadvertently was
20
     not mailed prior to the Settlement Approval hearing and (b) did not otherwise receive
21
     timely notice of the Settlement.
22
     DATED: April 14, 2009
23
24
25
26
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10
                                 UNITED STATES DISTRICT COURT
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13   KELLY CASTILLO, NICHOLE BROWN,                       Case No.: 2:07-CV-02142 WBS-GGH
     BRENDA ALEXIS DIGIANDOMENICO,
14   VALERIE EVANS, BARBARA ALLEN,                        NOTICE OF MOTION AND MOTION
     STANLEY OZAROWSKI, and DONNA                         FOR ORDER (1) PRELIMINARILY
15
     SANTI, Individually and on behalf of all             APPROVING CLASS ACTION
     others similarly situated,                           SETTLEMENT; (2) PROVISIONALLY
16
                                                          CERTIFYING SETTLEMENT CLASS; (3)
17                                                        APPROVING CLASS NOTICE, CLAIM
            Plaintiffs,                                   FORM AND REQUEST FOR
18                                                        EXCLUSION PROCEDURE; (4)
                                                          DIRECTING DISSEMINATION OF
19
            v.                                            CLASS NOTICE; AND (5) SETTING A
20                                                        HEARING FOR FINAL APPROVAL OF
                                                          THE SETTLEMENT
21
     GENERAL MOTORS CORPORATION,                          Date: September 2, 2008
22
                                                          Time: 2:00 p.m.
23                                                        Ctrm: 5
             Defendants.                                  Judge: William B. Shubb
24

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                                                      i
                   Notice of Motion and Motion for Preliminary Approval of Settlement
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16             CLASS IS REASONABLE AND ROUTINELY AWARDED ............................16
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18         REQUEST FOR ATTORNEYS’ FEES.................................................................17

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20
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21

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 1   TABLE OF AUTHORITIES
 2   Cases
 3   Alaniz v. California Processors, Inc., 73 F.R.D. 269, 273 (N.D. Cal. 1976) ……………...2, 9, 11
 4   Cartt v. Superior Court, 50 Cal.App.3d 960, 973-74 (1975).................................................. 14, 15
 5   Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992) .................................. 9, 11
 6   Coca-Cola, 200 F.R.D. at 694 ...................................................................................................... 16
 7   Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)................................................................ 12
 8   Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 176 (1974)....................................................... 14, 15
 9   Hammon v. Berry, 752 F. Supp. 1087 (D.D.C. 1990) .................................................................. 12
10   Hanlon v. Chrysler Corp. 150 F.3d 1011, 1026 (9th Cir. 1998) .................................................... 9
11   Hanlon, 150 F.3d at 1027 ............................................................................................................. 12
12   In re Traffic Executive Association - Eastern Railroads, 627 F.2d 631, 633-634 (2d Cir. 1980).11
13   Ingram v. The Coca-Cola Co., 200 F.R.D. 685, 694 (N.D. Ga. 2001)......................................... 16
14   Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989) ............................. 17
15   Potter v. Pacific Coast Lumber Co. of Cal., 37 Cal.2d 592, 602 (1951)...................................... 11
16   Six Mexican Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990)............. 17
17   Steinberg v. Carey, 470 F. Supp. 471 (S.D.N.Y. 1979)................................................................ 12
18   Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976) ........................................... 11
19   Van Vranken v. Atlantic Richfield Co., 901 F. Supp. 294 (N.D. Cal. 1995)................................. 16
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 1   4 Newberg on Class Actions 4th (2002) § 11.25 ........................................................................ 2, 9
 2   Manual for Complex Litigation § 21.31 (4th ed. 2004)................................................................ 15
 3   Manual for Complex Litigation § 21.63 (4th ed. 2004)................................................................ 10
 4   Manual for Complex Litigation § 30.42 n.763 (3d ed. 1995)....................................................... 16
 5   Manual for Complex Litigation, § 30.41 (3d ed. 1995)................................................................ 12
 6   Manual for Complex Litigation, §§ 21.311, 21.312 (4th ed. 2004)............................................. 15
 7   Manual for Complex Litigation, Fourth (Fed. Judicial Center 2006) (“Manual”), § 21.63 ........... 8
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 1                            NOTICE OF MOTION AND MOTION FOR
 2
                            PRELIMINARY APPROVAL OF SETTLEMENT

 3           Plaintiffs Kelly Castillo, Nichole Brown, Brenda Alexis Digiandomenico, Valerie Evans,
 4
     Barbara Allen (“Glisson”), Stanley Ozarowski, and Donna Santi (“Representative Plaintiffs”)
 5
     hereby submit their Motion for Preliminary Approval of Class Action Settlement to the
 6
     Honorable William B. Shubb of the United States District Court for the Eastern District of
 7

 8   California, and request an Order:

 9           (1)     preliminarily approving the class action Settlement;
10
             (2)     provisionally certifying the Settlement Class;
11
             (3)     approving the Class Notice, Final Notice, Claim Form and request for exclusion
12
                     procedure and directing dissemination thereof; and
13

14           (4)     setting a hearing for final approval of the Settlement.

15   This Motion is based upon the Memorandum of Points and Authorities attached hereto, the
16
     attached executed Joint Stipulation of Settlement and Release, the records, pleadings and papers
17
     filed in this action and such other oral argument and documentary evidence as may be presented
18

19
     to the Court at the hearing of this Motion.

20                       MEMORANDUM OF POINTS AND AUTHORITIES
21   I.      INTRODUCTION
22
             Representative Plaintiffs hereby seek preliminary approval of a proposed class action
23
     Settlement 1 with defendant General Motors Corporation (“GM”). Representative Plaintiffs filed
24

25   this class action seeking to extend their vehicle warranties and obtain compensation for repairs

26
     1
      A copy of the fully executed Joint Stipulation of Settlement and Release between Plaintiffs and
27   Defendant is attached hereto as Exhibit 1.
28
                                                       –1–

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 1   because they and the Class had purchased certain Saturn vehicles with GM’s VTi (variable
 2
     transmission intelligence) transmissions that Plaintiffs claim were defective. Subject to the
 3
     Court’s approval, the settlement resolves claims against GM in exchange for complete or partial
 4

 5   reimbursement of costs associated with transmission malfunctions, past and future, at odometer

 6   readings through 125,000 miles. GM will provide reimbursement for the following transmission
 7
     failure-related expenses:
 8
                    1.   Transmission repair
 9                  2.   Transmission replacement
                    3.   Transmission inspection
10
                    4.   Towing
11                  5.   Replacement vehicle rental during repair period
                    6.   Past trade-in loss
12

13   GM will reimburse owners (past and present) of both new and used Saturn vehicles containing
14
     VTi transmissions at reimbursement rates of 100%, 75%, or 30%, depending on the mileage of
15
     the vehicle at the time of malfunction and whether it was purchased new or used by the Class
16
     Member. This settlement provides substantial relief to the Class and should be preliminarily
17
     approved because it easily satisfies the applicable “range of possible approval” test for
18
     preliminary approval. Alaniz v. California Processors, Inc., 73 F.R.D. 269, 273 (N.D. Cal.
19
     1976); 4 Newberg on Class Actions § 11.25 (4th ed. 2002) .
20

21   II.    FACTUAL BACKGROUND
22
            This case is a putative class action filed on October 10, 2007 by Representative Plaintiffs
23
     on behalf of themselves and a class of current and former owners of Saturn vehicles with
24
     allegedly defective transmissions. More specifically, the vehicles at issue are Model Year 2002-
25
     2005 Saturn Vues and Model Year 2003-2004 Saturn Ions equipped with GM’s VTi (variable
26
     transmission intelligence) transmission. The VTi is a continuously variable transmission
27

28
                                                    –2–

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 1   (“CVT”) utilizing a belt-and-pulley system, rather than traditional gears, to transmit torque from
 2   the vehicle’s engine to the transaxle. Plaintiffs allege in their Complaint essentially that the VTi
 3   transmissions were defective, that GM was aware but failed to disclose that they were defective,
 4   and that the defect made the transmissions extremely prone to premature failure, often rendering
 5   the vehicles completely immobile and frequently resulting in the need for transmission service or
 6   replacement costing thousands of dollars. GM denies these allegations and filed a motion to
 7   dismiss the complaint.
 8          In April of 2007, an unhappy Saturn owner contacted The Lakin Law Firm, P.C. (“Class
 9   Counsel”) about possible problems with the Saturn VTi transmission. Schmieder Decl. ¶2,
10   attached as Exhibit 2. Unbeknownst to counsel, that same customer apparently shared counsels’
11   contact information with other customers via an internet website for Saturn owners, and counsel
12   soon were flooded with dozens of calls and e-mails from other unhappy Saturn customers
13   reporting similar problems and circumstances. Id. For the next six months, counsel consulted
14   extensively with Saturn customers, potential class representatives, and automotive industry
15   consulting experts. Id. In addition, counsel obtained and analyzed technical service bulletins,
16   general background literature regarding CVTs, and other documentation pertaining to the VTi.
17   Id. Once counsel had completed an exhaustive pre-suit investigation and had an adequate
18   understanding of the nature and scope of the problem, they ultimately filed this action in October
19   of 2007 on behalf of Plaintiffs Nichole Brown, Kelly Castillo, Barbara Glisson, and the proposed
20   Class. Id. Representative Plaintiffs Brenda Digiandomenico, Valerie Evans, Stanley Ozarowski,
21   and Donna Santi were added upon filing of the First Amended Complaint on January 14, 2008.
22   Id.
23          Since April of 2007, more than 250 Saturn owners reporting failures of their VTi
24   transmissions have contacted Class Counsel’s firm, which has interviewed many of the owners,
25   collected documents from them, and often taken their recorded statements. Ex. 2 at ¶3. In
26   addition, since filing this action, Plaintiffs have served GM with extensive written discovery
27

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 1   requests, thoroughly analyzed thousands of pages of documents produced by GM, deposed two
 2   current GM executives familiar with the facts at issue, subpoenaed two of GM’s third-party
 3   vendors involved in manufacturing and testing the VTi, reviewed thousands of pages of
 4   responsive third-party documents, interviewed numerous potential testifying experts, and read
 5   numerous industry publications relating to CVT technology in general and the VTi in particular.
 6   Id. Class Counsel have created an Addendum summarizing the results of their investigation and
 7   discovery efforts pertinent to the negotiated relief for the Class. Class Counsel have requested
 8   leave to file the Addendum under seal pursuant to the Court’s Protective Order because it
 9   contains information that GM considers proprietary and confidential. See Doc. 46.
10           The proposed Settlement was the culmination of protracted discussions between counsel
11
     for the parties, extensive consultation with their respective clients, and thorough analysis of the
12
     pertinent facts and applicable law. Counsel first met in Chicago on March 13, 2008 to discuss
13

14   discovery matters and the possibility of a settlement. Ex. 2 at ¶4. That full-day meeting did not

15   result in a resolution, however, and the parties continued to engage in discovery while
16
     simultaneously working to coordinate the formal mediation that ultimately took place with Judge
17
     Sabraw in San Francisco on May 21. Id.
18
             The May 21 mediation took place before the Honorable Ronald Sabraw, former complex
19

20   litigation judge of Alameda County, California, from approximately 9:00 a.m. until

21   approximately 10:30 p.m. Ex. 2 at ¶5. The mediation, an arm’s-length negotiation with
22
     significant back-and-forth assistance from Judge Sabraw, resulted late in the day in agreement
23
     regarding the substantial relief to the Class, and the signing of a term sheet memorializing the
24
     basic terms of that agreement. Id. The term sheet provided, among other things, that incentive
25

26   awards to the Representative Plaintiffs, attorneys’ fees and costs would be paid by GM in

27

28
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 1   addition to (i.e., without diminishing) the relief to the Class. Id. The parties then negotiated the
 2
     amount of the incentive awards for Representative Plaintiffs. Id. Finally, the parties began
 3
     negotiations regarding the issue of attorneys’ fees and costs. Id. Unable to resolve this issue by
 4

 5   10:30 p.m. on the day of the mediation, the parties continued telephonic negotiations for the next

 6   several days until ultimately reaching final agreement regarding attorneys’ fees on June 5,
 7
     subject to this Court’s approval. Id.
 8

 9   III.      DETAILED SUMMARY OF SETTLEMENT TERMS
10
                The proposed Settlement is a nationwide class settlement. The relief available to Class
11
     Members consists of reimbursement by GM for both past and future out-of-pocket losses relating
12

13
     to the VTi. A loss relating to the VTi includes:

14                 •   Costs to inspect, repair or replace the VTi;
15
                   •   Costs to rent a replacement vehicle or secure other transportation while the Saturn
16                     is/was being inspected or repaired;

17                 •   Costs to tow or transport the vehicle to inspect, repair or replace the VTi; and
18
                   •   Past losses relating to trade-ins of vehicles with malfunctioning VTi
19                     transmissions.
20   GM agrees to reimburse Class Members who suffer a loss in accordance with the following
21
     chart:
22
             Vehicle Mileage            GM Reimbursement                     GM Reimbursement
23
                                          (New Purchaser)                     (Used Purchaser)
24          100,000 or less              100 percent                          75 percent

25          100,101-125,000              75 percent                            30 percent
26

27

28
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 1   The 125,000 mile outer mileage limit represents 89,000 miles beyond the 36,000-mile warranty
 2
     that came with the vehicles when they originally were sold. 2 Counsel negotiated the mileage
 3
     limits in accordance with what reasonable consumers generally expect transmissions to last—the
 4

 5   primary premise underlying each of Plaintiffs’ pleaded legal theories. The thorough

 6   investigation of Class Counsel, industry experts, industry data, consultation with class members,
 7
     and discovery obtained by Class Counsel all suggested that the average transmission lasts at least
 8
     100,000 miles and perhaps even 125,000 miles. See Addendum. GM, however, has argued that
 9
     consumer expectations are legally irrelevant and that their legal rights are governed exclusively
10

11   by the terms of the initial warranty, which in this case limited coverage to only 36,000 miles.

12   See Docs. 23, 29, 30 and 37. The negotiated 125,000 mile threshold represents, at the very least,
13
     a compromise extremely favorable to the Class.
14
               Under the proposed Settlement, there is no cap—either per-incident, per-vehicle, per-
15
     class member, or otherwise in the aggregate—on the cost of reimbursable expenses. A VTi
16

17   transmission replacement costs thousands of dollars, with some replacement estimates reaching

18   $8,000.
19
             To be reimbursable under the Settlement, a loss must occur within 125,000 vehicle miles
20
     and within the time periods in the following chart:
21

22

23

24

25

26
     2
       The 125,000 mile outer mileage limit also represents 50,000 miles beyond GM’s voluntary extension of
27   its manufacturer’s warranty from 36,000 to 75,000 miles beginning in March of 2004.
28
                                                      –6–

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 1
                                                                         Date by Which
                      Model year              Coverage Limit            Loss Must Occur
 2

 3                        2002                     8 years                 Jan. 1, 2010

 4                        2003                     8 years                 Jan. 1, 2011
 5                        2004                     8 years                 Jan. 1, 2012
 6                        2005                     7 years                 Jan. 1, 2012
 7

 8   These time limits last at least four (4) years beyond the maximum 3-year warranty that Class
 9   Members who purchased new vehicles expected when they purchased their vehicles. These
10
     limits give each Class Member approximately the same temporal opportunity to reach the
11
     negotiated mileage limits and take full advantage of the negotiated relief. Transmission repair
12

13   and related expenses will be reimbursed for up to approximately eight years beyond the model

14   year for all but Model Year 2005. Due to engineering improvements, the Settlement provides
15
     seven (7) years of coverage for the Model Year 2005 vehicles. For past reimbursable expenses,
16
     Class Members must submit claim forms within one year of the effective date of the settlement.
17
     For future reimbursable expenses, Class Members must submit claim forms by March 1
18

19   following the dates listed in the “Date by Which Loss Must Occur” column in the chart above for

20   the model year of the class vehicle.
21
             Even if a Class Member does not incur a future reimbursable expense, the settlement still
22
     provides substantial relief. Class Counsel estimate that if a Class Member were to purchase an
23
     extended warranty for the relatively high mileages covered by the reimbursement provisions of
24

25   the settlement, it would cost well in excess of $1,000 per vehicle based on the cost of analogous

26

27

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 1   extended warranties. 3 In other words, the proposed Settlement unquestionably provides
 2
     substantial relief to the Class.
 3
              GM will pay for all claims administration costs, including without limitation first class
 4

 5   direct mail notice to all Class Members, without in any way diminishing the class relief. Subject

 6   to Court approval, GM also will pay class representative incentive awards in the amount of
 7
     $2,500 per Representative Plaintiff, as well as attorneys’ fees and costs in the amount of
 8
     $4,425,000. Class representative incentive awards, attorneys’ fees and costs will be paid in
 9
     addition to (i.e., without diminishing) the quite substantial relief to the Class.
10

11
     IV.     CLASS ACTION SETTLEMENT APPROVAL PROCEDURE
12
              A class action may not be dismissed, compromised or settled without the approval of the
13
     Court. Fed.R.Civ.P. 23(e). Judicial proceedings under Federal Rule of Civil Procedure 23 have
14
     led to a defined procedure and specific criteria for settlement approval in class action
15
     settlements, described in the Manual for Complex Litigation, Fourth (Fed. Judicial Center 2006)
16
     (“Manual”), § 21.63. The Manual’s settlement approval procedure describes the following steps:
17
                    1.     Preliminary fairness review of the proposed Settlement;
18
                    2.     Dissemination of mailed and/or published notice of the
19

20
                    Settlement and formal fairness review to all affected Class

21                  members; and

22
     3
       While GM offers certain extended warranties up to 100,000 miles, GM does not even offer any extended
23   warranty options past 100,000 miles. Ex. 2 at ¶6. Moreover, to qualify for a GM extended warranty, an
     owner must purchase it within the initial manufacturer’s warranty period (3 years / 36,000 miles) or at the
24
     time of vehicle purchase. Id. In order to obtain extended warranty coverage beyond 100,000 and up to
25   125,000 miles, Class Members would have to purchase costly third-party extended warranties. For
     example, a Vue customer with 75,000 miles would have to purchase a 24 month / 24,000 mile powertrain-
26   only warranty for $1,895, plus a 12 month / 12,000 mile warranty for $1,729, plus another 12 month /
     12,000 mile warranty for $1,803 to take the vehicle through 125,000 miles at a total cost of $5,427. Id.at
27   ¶7.
28
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 1
                   3.     A “formal fairness hearing,” or final settlement approval
 2
                   hearing, at which Class members may be heard and evidence and
 3
                   argument concerning the fairness, adequacy, and reasonableness of
 4

 5
                   the Settlement may be presented.

 6   This procedure, commonly used by courts and endorsed by the leading class action commentator,

 7   Professor Newberg, safeguards class members’ procedural due process rights and enables the

 8   Court to fulfill its role as the guardian of class interests. See, 4 Newberg on Class Actions 4th
 9   (2002) § 11.25.
10           The decision to approve or reject a proposed settlement is committed to the Court’s
11   sound discretion. Hanlon v. Chrysler Corp. 150 F.3d 1011, 1026 (9th Cir. 1998). Accordingly,
12   a court’s decision to approve a class action settlement may be reversed only upon a strong
13
     showing of “clear abuse of discretion.” Id.; Class Plaintiffs v. City of Seattle, 955 F.2d 1268,
14
     1276 (9th Cir. 1992) (in context of class action settlement, appellate court cannot “substitute [its]
15
     notions of fairness for those of the [trial] judge and the parties to the agreement,” and will
16
     reverse only upon strong showing of abuse of discretion).
17
            With this Motion, Representative Plaintiffs request that the Court take the first step in the
18
     settlement approval process, and grant preliminary approval of the proposed Settlement. The
19
     purpose of the Court’s preliminary evaluation of the proposed Settlement is to determine whether
20
     it is within the “range of possible approval,” and whether the Class Notice setting forth the terms
21
     and conditions of the Settlement, and the scheduling of a formal fairness hearing, are
22
     worthwhile. See Alaniz, 73 F.R.D. at 273; 4 Newberg § 11.25.
23

24
             Plaintiffs further request that the Court provisionally certify the proposed Settlement

25   Class, for purposes of settlement only, at this time. Provisional class certification is appropriate

26   at the preliminary approval stage where, as here, the proposed Settlement Class as defined in the

27   parties’ Settlement Agreement has not previously been certified by the Court, and the

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 1
     requirements for certification are met. See 4 Newberg § 11.22. The practical purpose of
 2
     provisional class certification is to facilitate dissemination to all members of the Settlement Class
 3
     of Notice of the terms of the proposed Settlement, and the date and time of the final approval
 4

 5
     hearing. See Manual for Complex Litigation § 21.63 (4th ed. 2004). The additional rulings

 6   sought by this Motion — approving the content and dissemination of Class Notice and Claim

 7   Forms and scheduling a formal fairness hearing — facilitate the settlement approval process, and

 8   also are typically made at the preliminary approval stage. See 4 Newberg § 11.26. Neither
 9   formal notice nor a hearing is required for the Court to grant preliminary approval or provisional
10   class certification; instead, the Court may grant such relief upon an informal application by the
11   settling parties, and may conduct any necessary hearing in court or in chambers, at the Court’s
12   discretion. See Manual for Complex Litigation § 21.63 (4th ed. 2004).
13
             The following schedule sets forth a proposed sequence for the relevant dates and
14
     deadlines, assuming this Court grants preliminary approval of the proposed Settlement by
15
     September 2, 2008. This sequence is also outlined in the proposed Order submitted herewith.
16

17                           Date                                         Event
18         Within 90 days of Preliminary               GM shall mail Notice to all class
           Approval                                    members
19
           40 days after mailing of Class Notice       Deadline for submission of request to be
20                                                     excluded from the Settlement
21         40 days after mailing of Class Notice       Deadline for written objections to the
                                                       Settlement
22
           20 days before final approval hearing       Deadline for any objectors to provide
23                                                     notice of intention to appear and be heard
                                                       at the final approval hearing
24

25

26

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 1         10 days before final approval hearing       Deadline for Plaintiffs to file and serve
 2
                                                       motion for final approval of Settlement,
                                                       the request for incentive awards and the
 3                                                     request for an award of attorneys’ fees,
                                                       costs and expenses
 4
           Date to Be Determined by the Court.         Final approval hearing before Judge
 5         Requested for the week of February 9,       Shubb in Courtroom 5 of the United
           2009, or earlier if the Court grants        States District Court for the Eastern
 6
           preliminary approval before                 District of California
 7         September 2, 2008

 8         One year from Effective date                Deadline for submission of Claim Forms
                                                       for Past Expenses
 9
           March 1 following the dates listed in       Deadlines for submission of Claim Forms
10         the chart on pages 7 above                  for Future Expenses

11
     V.     PRELIMINARY APPROVAL OF THE SETTLEMENT IS APPROPRIATE.
12
             The law favors settlement, particularly in class actions and other complex cases where
13
     substantial resources can be conserved by avoiding the time, cost and rigors of formal litigation.
14
     See, 4 Newberg § 11.41, at pp. 87-88 (and cases cited therein); Class Plaintiffs v. City of Seattle,
15
     955 F.2d at 1276; Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976); Potter v.
16
     Pacific Coast Lumber Co. of Cal., 37 Cal.2d 592, 602 (1951). These concerns apply with
17
     particular force in a case such as this, where the same product defect affected tens of thousands
18
     of people.
19
             To grant preliminary approval of this class action Settlement, the Court need find only
20

21
     that the Settlement falls within the range of possible final approval, also described as “the range

22   of reasonableness.” See, e.g., In re Traffic Executive Association - Eastern Railroads, 627 F.2d

23   631, 633-634 (2d Cir. 1980); Alaniz, 73 F.R.D. at 273; 4 Newberg § 11.25. To make this

24   fairness determination, courts must give “proper deference to the private consensual decision of

25   the parties,” since “the court’s intrusion upon what is otherwise a private consensual agreement
26   negotiated between the parties to a lawsuit must be limited to the extent necessary to reach a
27

28
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 1
     reasoned judgment that the agreement is not the product of fraud or overreaching by, or collusion
 2
     between, the negotiating parties, and that the settlement, taken as a whole, is fair, reasonable and
 3
     adequate to all concerned.” See Hanlon, 150 F.3d at 1027. Indeed, as “a settlement is the
 4

 5
     offspring of compromise;” the question upon preliminary approval “is not whether the final

 6   product could be prettier, smarter or snazzier, but whether is fair, adequate and free from

 7   collusion.” Id. at 1027. See also Hammon v. Berry, 752 F. Supp. 1087 (D.D.C. 1990); Steinberg

 8   v. Carey, 470 F. Supp. 471 (S.D.N.Y. 1979).
 9           The Manual characterizes the preliminary approval stage as an “initial assessment” of
10   the fairness of the proposed settlement made by the court on the basis of written submissions and
11   informal presentation from the settling parties. The Manual summarizes the preliminary
12   approval criteria as follows:
13
                    If the preliminary evaluation of the proposed settlement does not
14                  disclose grounds to doubt its fairness or other obvious deficiencies,
                    such as unduly preferential treatment of class representatives or of
15
                    segments of the class, or excessive compensation for attorneys, and
16                  appears to fall within the range of possible approval, the court
                    should direct that notice . . . be given to the class members of a
17                  formal fairness hearing, at which arguments and evidence may be
                    presented in support of and in opposition to the settlement.
18

19   See Manual for Complex Litigation, § 30.41 (3d ed. 1995), as quoted in 4 Newberg, § 11.25.

20   Indeed, there is a “strong presumption” that an agreed upon settlement is fair. Cotton v. Hinton,
21
     559 F.2d 1326, 1331 (5th Cir. 1977). A preliminary review of the terms of the proposed
22
     Settlement leaves no doubt about its fairness.
23
            Here, the Settlement accomplishes exactly what Representative Plaintiffs requested—
24

25   reimbursement of VTi transmission repair and related expenses beyond the GM warranty. See

26   Doc. 27, Prayers for Relief (requesting the “amount of actual monetary damages” and “striking
27

28
                                                      – 12 –

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 1   the durational limits of the warranties”). The Settlement provides significant relief for all Class
 2
     Members—whether a new purchaser, a used purchaser, an owner who has paid out-of-pocket, an
 3
     owner who has not paid out-of-pocket yet, or an owner who traded-in a vehicle as a result of a
 4

 5   malfunctioning VTi transmission. In addition, the Settlement provides significant relief to all

 6   owners of class vehicles regardless of State of residence or purchase. The Settlement provides
 7
     Class Members with as much as 100% of their out-of-pocket expenses, and in no case less than
 8
     30%, through 125,000 miles.
 9
            The risk, expense, complexity, and likely duration of further litigation also support
10

11   approval of the Settlement. GM has asserted significant legal and factual defenses, Docs.23, 29,

12   30 and 37, has moved to dismiss the complaint, voluntarily extended the new vehicle warranty to
13
     5 years / 75,000 miles, and has raised many other issues regarding the merits and class
14
     certification during negotiations. Even with a relatively expedited trial date of August 25, 2009,
15
     continued litigation would not result in relief to the Class until much later. Considering the
16

17   financial hardship of those who have already spent thousands of dollars to repair their vehicles

18   and of those who have been unable to afford repairs, the Settlement provides swift relief to
19
     alleviate those financial burdens. The availability of relatively expedited relief under the
20
     Settlement represents an intangible benefit of the Settlement that would be unavailable through
21

22
     the avenue of further litigation.

23          In light of the risks, the Settlement provides the Class with substantial relief. The
24
     Settlement provides substantial class relief (often thousands of dollars per Class Member), up to
25
     100% of a Class Member’s past and future out-of-pocket expense, including not only for
26
     transmission repair/replacement, but also for rental vehicles, towing expenses, and trade-in
27

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 1   losses. The specific amount of relief varies equitably based on the relief requested in the
 2
     complaint, the strengths and weaknesses of the various claims depending on specific
 3
     circumstances, and the results of the investigation and discovery conducted by Class Counsel.
 4

 5   Especially considering that the Class could not be guaranteed any relief at all if the case were to

 6   proceed to trial, much less the substantial relief afforded by the negotiated Settlement, the
 7
     Settlement is eminently fair, reasonable, and adequate.
 8
            Class Counsel also have made an effort to notify all Class Members who previously
 9
     contacted them to discuss the Settlement. Ex. 2 at ¶8. The response has been overwhelmingly
10

11   favorable. Id. With knowledge of the strengths and weaknesses of this case, Class Counsel

12   believe that the Settlement provides substantial relief to the Class. The views of Class Counsel,
13
     who are skilled attorneys with significant class action experience, are further bolstered by Judge
14
     Sabraw’s endorsement of the Settlement, through his involvement as mediator and otherwise.
15
     VI.    THE PROPOSED CLASS NOTICE IS APPROPRIATE.
16

17          A.      The Class Notice Satisfies Due Process Requirements.
18         Due process and judicial interpretation of the notice provisions under California and federal
19
     law require that notice be provided to class members by the best reasonable method available.
20
     See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 176 (1974); Cartt v. Superior Court, 50
21

22
     Cal.App.3d 960, 973-74 (1975). The notice plan here entails mailing the notice to all known and

23   reasonably ascertainable class members based on GM’s records and DMV records in all 50 states
24
     as available through Polk data. The Class Notice is consistent with class certification notices
25
     approved by numerous state and federal courts, and is, under the circumstances of this case, the
26

27

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 1   best notice practicable. The proposed Class Notice and Claims Process satisfy all due process
 2
     requirements. See Eisen, 417 U.S. 156; Cartt, 50 Cal.App.3d 960.
 3
            B.      The Proposed Class Notice Is Accurate And Informative.
 4

 5        The proposed Class Notice provides: (1) information on the meaning and nature of the

 6   proposed Settlement Class; (2) the terms and provisions of the Settlement; (3) the relief the
 7
     Settlement will provide Settlement Class members; (4) the amount requested by Class Counsel
 8
     for reimbursement of costs, attorneys’ fees and for the Representative Plaintiffs’ incentive
 9
     awards; (5) the date, time and place of the final Settlement approval hearing, and the procedure
10

11   and deadlines for submitting Claim Forms, Requests for Exclusion and comments and/or

12   objections.
13
          The Class Notice also fulfills the requirement of neutrality in class notices. See 3 Newberg
14
     § 8.39. It summarizes the proceedings to date and the terms and conditions of the Settlement, in
15
     an informative and coherent manner and in compliance with the Manual’s statement that the
16

17   notice should state essential terms “concisely and clearly . . . in plain, easily understood

18   language.” See Manual for Complex Litigation § 21.31 (4th ed. 2004). The Class Notice clearly
19
     states that the Settlement does not constitute an admission of liability by GM, and recognizes that
20
     the Court has not ruled on the merits of the action. It also states that the final settlement approval
21

22
     decision has yet to be made. Accordingly, the Class Notice complies with the standards of

23   clarity, fairness, completeness, and objectivity required of a settlement class notice disseminated
24
     under authority of the Court. See Fed. R. Civ. P. 23[c][2]; 23[e]; 3 Newberg, §§ 8.21, 8.39;
25
     Manual for Complex Litigation, §§ 21.311, 21.312 (4th ed. 2004).
26

27

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 1   VII.    PAYMENT TO THE NAMED PLAINTIFFS FOR THEIR SERVICE TO THE CLASS IS
 2
             REASONABLE AND ROUTINELY AWARDED.

 3           Enhancement payments to representative plaintiffs in class action settlements are
 4
     intended to recognize their level of risk, the time expended and the efforts undertaken on behalf
 5
     of the class. “Courts routinely approve incentive awards to compensate named plaintiffs for the
 6
     services they provide and the risks they incurred during the course of the class action litigation.”
 7

 8   See Ingram v. The Coca-Cola Co., 200 F.R.D. 685, 694 (N.D. Ga. 2001) (approving incentive

 9   awards of $300,000 to each named plaintiff); see also Manual for Complex Litigation § 30.42
10
     n.763 (3d ed. 1995) (noting that such awards “may sometimes be warranted for time spent
11
     meeting with class members or responding to discovery”). See also Van Vranken v. Atlantic
12
     Richfield Co., 901 F. Supp. 294 (N.D. Cal. 1995) (approving a $50,000 participation award).
13

14   The much smaller $2,500 incentive awards proposed in this case represent a small fraction of the

15   value of the relief to the rest of the Class and are eminently reasonable.
16
     VIII. THE WORK PERFORMED BY PLAINTIFFS’ COUNSEL SUPPORTS THE REQUEST FOR
17         ATTORNEYS’ FEES.
18          Only after the parties had reached agreement on the other settlement terms through a signed
19
     term sheet, Class Counsel then negotiated for their fees and costs to be paid by GM in addition to
20
     the class relief. The proposed notice will inform class members that Class Counsel will request
21

22
     an award of attorneys’ fees and costs in the amount of $4,425,000. This amount is less than five

23   percent (5%) of the value of the class relief, conservatively estimated by Class Counsel at more
24
     than $100 million. The notice also informs class members that this request, like the other terms
25
     of the settlement, will be subject to Court approval. The Ninth Circuit has established an
26
     attorneys’ fees “benchmark” of twenty-five percent (25%) of the class relief. See, e.g. Id. at 297;
27

28
                                                     – 16 –

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 1   Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989); Six Mexican
 2
     Workers v. Arizona Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990). For purposes of
 3
     preliminary approval of the Settlement, the requested fees in an amount far below the established
 4

 5   Ninth Circuit benchmark are well within the range of reasonableness. Class counsel will prepare

 6   and file a memorandum in support of the attorneys’ fee request prior to the final approval
 7
     hearing.
 8
     IX.    A FINAL APPROVAL HEARING SHOULD BE SCHEDULED.
 9
            The last step in the settlement approval process is the final approval hearing, at which the
10

11   Court may hear all evidence and argument necessary to evaluate the proposed Settlement. At

12   that hearing, proponents of the Settlement may explain and describe its terms and conditions and
13
     offer argument in support of Settlement approval, and members of the Settlement Class, or their
14
     counsel, may be heard in support of or in opposition to the Settlement. Class Counsel request
15
     that the hearing be held during the week of February 9, 2009, or earlier if the Court grants
16

17   preliminary approval before September 2, 2008.

18   X.    CONCLUSION
19
           For all of the foregoing reasons, Plaintiffs respectfully request that this Court grant
20
     preliminary approval of the proposed Settlement, certify the Settlement Class, approve the
21
     proposed form of Class Notice, Final Notice and Claim Form, direct dissemination of Class
22
     Notice, set the deadline for Requests for Exclusion and any objections to the Settlement, and
23
     schedule the final approval hearing.
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 1
     Dated: July 22, 2008                Respectfully submitted,
 2

 3                                       THE LAKIN LAW FIRM, P.C.
 4                                       s/ Robert W. Schmieder II
                                         THE LAKIN LAW FIRM, P.C.
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 9   Attorney for Plaintiffs
10                               UNITED STATES DISTRICT COURT
11
                                EASTERN DISTRICT OF CALIFORNIA

12   KELLY CASTILLO, NICHOLE BROWN,                      Case No.: 2:07-CV-02142 WBS-GGH
     BRENDA ALEXIS DIGIANDOMENICO,
13   VALERIE EVANS, BARBARA ALLEN,
                                                         CERTIFICATE OF SERVICE
14
     STANLEY OZAROWSKI, and DONNA
     SANTI, Individually and on behalf of all
15   others similarly situated,
16
            Plaintiffs,
17
            v.
18
     GENERAL MOTORS CORPORATION,
19

20           Defendants.

21

22   I hereby certify that on July 22, 2008, I electronically filed the Notice of Motion and Motion for

23   Order (1) Preliminarily Approving Class Action Settlement; (2) Provisionally Certifying

24   Settlement Class; (3) Approving Class Notice, Claim Form and Request for Exclusion

25   Procedure; (4) Directing Dissemination of Class Notice; and (5) Setting a Hearing for Final

26   Approval of the Settlement with the Clerk of Court using the CM/ECF system, which will send

27   notification of such filings(s) to the following:

28
                                                     – 19 –

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 2
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 3
                                                        Respectfully submitted,
 4
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